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August 17, 2020

Hon. Alison J. Nathan
United States District Judge
Southern District of New York
                                                                                         8/21/2020
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re:    Red Tree Investments, LLC v. Petróleos de Venezuela, S.A. et al., No. 1:19-cv-02519


Dear Judge Nathan,

We write on behalf of Plaintiff Red Tree Investments, LLC to inform the Court that this matter is
incorrectly marked as “STAYED” in the ECF system. The Court stayed this case on May 6, 2019
for 120 days, [Dkt. No. 33]. That stay lapsed on September 3, 2019. On September 26, 2019,
Plaintiffs moved for an additional 120-day stay, [Dkt. No. 49], which the Court denied on January
14, 2020, [Dkt. No. 57]. As the Court is aware, Defendants’ discovery motion pursuant to Fed. R.
Civ. P. 56(d) has been fully briefed since February 24, 2020.

For clarity
          y and accuracy,y, Red Tree respectfully
                                         p        requests thatt the case docket in ECF be updated to
reflect that the matter is no longer stayed.
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Sincerely,
                                                                                                8/19/2020
/s/ Daniel Salinas-Serrano
Daniel Salinas-Serrano




      quinn emanuel urquhart & sullivan, llp
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